                 Case 20-62169-lrc                   Doc 24              Filed 03/18/20 Entered 03/18/20 16:51:51                                  Desc Main
                                                                         Document     Page 1 of 20
Fill in this information to identify your case and this filing:
                                                                                                                                                           couRi
                                                       ./                                                                                                 RICT
Debtor 1                                                          rS97
                     Firs5fteme                 Middle Name                            Last eme                                                          A
Debtor 2
(Spouse, If fling)   First Name                 Middle Name                       4      st Name                                   MO MAR 18 PM                  0I
United States Bankruptcy Court for    th54eviiion             District of     7
                                                                                                                                      _M. REGWA .THONAS
                                                                                                                                             CL ECK
Case number
                                                                                                                                                         'deck if ..this is an
                                                                                                                                                                   .
                                                                                                                                                                         ng


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest In any residence, building, land, or similar property?

    0     No. Go to Part 2.
   )4 Yes. Where is the property?
                                                                             What Is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                             a        Single-family home                       the amount of any secured claims on Schedule D:
                                                                                                                               Creditors Who Have Claims Secured by Property.
      1.1.    /69,                                                           O Duplex or multi-unit building
              Street ddress, if available, or other description
                                                                             O Condominium or cooperative                      Current value of the     Current value of the
                                                                                      Manufactured or mobile home              entire property?         portion you own?
                                                                                      Land                                                   et.
                                                                                      Investment property
                                                                                      Timeshare                                Describe the nature of your ownership
              City                           State      ZIP Code                                                               interest (such as fee simple, tenancy by
                                                                                      Other                                    the entireties, or a life estate), If known.
                                                                             Who has an interest in the property? Check one.

                ZidgA
              County
                                                                             0
                                                                             0
                                                                                      Debtor 1 only
                                                                                      Debtor 2 only
                                                                             0        Debtor 1 and Debtor 2 only
                                                                                                                               0   Check if this Is community property
                                                                                                                                   (see instructions)
                                                                             21 At least one of the debtors and another
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
     If you own or have more than one, list here:
                                                                         What is the property? Check all that apply.           Do not deduct secured claims or exemptions. Put

       1.2.          A7A-
              Street ddress, if available, or other description
                                                                         O Single-family home
                                                                         •        Duplex or multi-unit building
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                                                                               Creditors Who Have Claims Secured by Properly.

                                                                         CI       Condominium or cooperative                   Current value of the      Current value of the
                                                                                  Manufactured or mobile home                  entire property?          portion you own?
                                                                                  Land
                                                                                  Investment property
                                                                                                                               Describe the nature of your ownership
                                                                                  Timeshare
              City                           State      ZIP Code                                                               interest (such as fee simple, tenancy by
                                                                                  Other                                        the entireties, or a life estate), If known.
                                                                         Who has an interest in the property? Check one
                                                                         0 Debtor 1 only
              County                                                     CI Debtor 2 only
                                                                         LI Debtor 1 and Debtor 2 only                             Check if this is community property
                                                                         LI At least one of the debtors and another                (see instructions)

                                                                         Other information you wish to add about this Item, such as local
                                                                         property identification number:


 Official Form 106A/B                                                        Schedule A/B: Property                                                              page 1
Debtor 1
             Case 20-62169-lrc
                        144     ---     1 1/11/
                                                   Doc 24
                                                    101        —
                                                                   Filed 03/18/20 Entered 03/18/20 16:51:51
                                                                        SizOt_
                                                                   Document                20 number Of known)
                                                                                Page 2 of Case
                                                                                                                       7-/‘ Main
                                                                                                               1-6 -- 6Desc  -
                  First / me    Middle Name            Last Name
                       1



                                                                   What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                       Single-family home                            the amount of any secured claims on Schedule D:
    1.3.               111V 711
                             1 /                                                                                     Creditors Who Have Claims Secured by Property.
           Street address, i available, or other description           Duplex or multi-unit building
                                                                                                                     Current value of the     Current value of the
                                                                       Condominium or cooperative
                                                                                                                     entire property?         portion you own?
                                                                       Manufactured or mobile home
                                                                       Land
                                                                       Investment property
                                                                                                                     Describe the nature of your ownership
           City                           State      ZIP Code          Timeshare
                                                                                                                     Interest (such as fee simple, tenancy by
                                                                       Other                                         the entireties, or a life estate), if known.

                                                                   Who has an interest in the property? Check one.
                                                                   0 Debtor 1 only
           County
                                                                   0 Debtor 2 only
                                                                   0 Debtor 1 and Debtor 2 only                      U Check if this is community property
                                                                                                                         (see instructions)
                                                                   0 At least one of the debtors and another
                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                        4
                                                                                                                                              $ 22541- 25ok
   you have attached for Part 1. Write that number here.




Part 2:     Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   la -No
   0   Yes


           Make:                                                   Who has an Interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
    3.1.
                                                                                                                     the amount of any secured claims on Schedule D:
                                                                   O Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
           Model:
                                                                   O Debtor 2 only
            Year:                                                                                                    Current value of the       Current value of the
                                                                   O Debtor 1 and Debtor 2 only
                                                                                                                     entire property?           portion you own?
            Approximate mileage:                                   CI At least one of the debtors and another
            Other information:
                                                                    U Check if this is community property (see
                                                                       instructions)



   If you own or have more than one, describe here:

           Make:
                                                                   Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
    3.2.
                                                                                                                     the amount of any secured claims on Schedule D:
                                                                   O Debtor 1 only                                   Creditors Who Have Claims Secured by Properly.
           Model:
                                                                   O Debtor 2 only
           Year:                                                                                                      Current value of the      Current value of the
                                                                       Debtor 1 and Debtor 2 only
                                                                                                                      entire property?          portion you own?
           Approximate mileage:                                    1:1 At least one of the debtors and another
           Other information:
                                                                    U Check if this is community property (see
                                                                       instructions)




 Official Form 106A/B                                               Schedule AIB: Property                                                             page 2
Debtor 1
                Case 20-62169-lrc
                  Fl   Name         Middle Name
                                                  Doc&sal24 Filedvriti
                                                    Last Name
                                                                  03/18/20 Entered 03/18/20 16:51:51
                                                              Document              20 number (it known)
                                                                         Page 3 of Case                                   ‘ .2/1
                                                                                                                            Desc Main




   3.3.    Make:                                          Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
                                                                                                             the amount of any secured claims on Schedule D:
                                                               Debtor 1 only                                 Creditors Who Have Claims Secured by Property.
           Model:
                                                           O Debtor 2 only
           Year:                                                                                             Current value of the      Current value of the
                                                          U Debtor 1 and Debtor 2 only
                                                                                                             entire property?          portion you own?
           Approximate mileage:                           El At least one of the debtors and another
           Other information:
                                                           0   Check if this is community property (see
                                                               instructions)


   3A.     Make:                                           Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                             the amount of any secured claims on Schedule D:
                                                           O Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
           Model:
                                                           O Debtor 2 only
           Year:                                                                                             Current value of the      Current value of the
                                                           0   Debtor 1 and Debtor 2 only
                                                                                                             entire property?          portion you own?
           Approximate mileage:                            0   At least one of the debtors and another
           Other information:
                                                               Check if this is community property (see
                                                               instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
   0      Yes


            Make:                                          Who has an interest In the property? Check one.   Do not deduct secured claims or exemptions. Put
    4.1,
                                                                                                             the amount of any secured claims on Schedule D:
                                                           El Debtor 1 only                                  Creditors Who Have Claims Secured by Properly.
            Model:
                                                           D Debtor 2 only
            Year:
                                                           O Debtor 1 and Debtor 2 only                      Current value of the      Current value of the
            Other information:                             0 At least one of the debtors and another         entire property?          portion you own?


                                                           El Check if this is community property (see
                                                               instructions)



   If you own or have more than one, list here:

            Make:                                          Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
    4.2.
                                                                                                             the amount of any secured claims on Schedule D:
                                                           El Debtor 1 only                                  Creditors Who Have Claims Secured by Properly.
            Model:
                                                           O Debtor 2 only
            Year:                                                                                             Current value of the      Current value of the
                                                           El Debtor 1 and Debtor 2 only                      entire property?          portion you own?
               Other information:                          D At least one of the debtors and another

                                                           D Check if this is community property (see
                                                               instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                          6
   you have attached for Part 2. Write that number here                                                                          4




 Official Form 106A/B                                       Schedule A/B: Property                                                               page 3
                   Case 20-62169-lrc              Doc 24          Filed 03/18/20           Entered 03/18/20 16:51:51                Desc Main
     Debtor 1             /744-                  t'4'rre97  47cerilPage 4 of Case
                                                         Document             20 number or                         known)
                     F    me       Middle Name        Last Name




     Part 3:      Describe Your Personal and Household Items

                                                                                                                                    Current value of the
     Do you own or have any legal or equitable interest in any of the following items?                                              portion you own?
                                                                                                                                    Do not deduct secured claims
                                                                                                                                    or exemptions.

     6. Household goods and furnishings
          Examples: Major appliances, furniture, linens, china, kitchenware
eit,G)
               (es. Describe


     7. Electronics
          Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                    collections; electronic devices including cell phones, cameras, media players, games
          ja No
           O Yes. Describe


     8. Collectibles of value
        Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
        grNo
        O Yes. Describe
                                          „ ..
     9. Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                  and kayaks; carpentry tools; musical instruments
          12(No
           O Yes. Describe


     10. Firearms
           Examples: Pistols, rifles, shotguns, ammunition, and related equipment
              No
           O Yes. Describe

     11.Clothes
           Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

           O Yes. Describe



     12.Jewelry
           Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                     gold, silver
          eZ(No
           O Yes. Describe

     13. Non-farm animals
           Examples: Dogs, cats, birds, horses


           O Yes. Describe


     14.Any other personal and household items you did not already list, including any health aids you did not list

             'No
           U  Yes. Give specific
              information.

     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here                                                                                     4


         Official Form 106A/B                                     Schedule A/B: Property                                                          page 4
                 Case 20-62169-lrc              Doc 24          Filed 03/18/20
                                                                           ver2i Entered 03/18/20 16:51:51                          Desc Main
Debtor 1
                  First Nme
                               f—
                              Middle Name           Last Name   Document               20 number (if known)
                                                                             Page 5 ofCase

Part 4:         Describe Your Financial Assets

                                                                                                                                    Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured claims
                                                                                                                                    or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   12rNo
   U       Yes                                                                                               Cash:




17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same Institution, list each.


   U       Yes                                                  Institution name:


                               17.1. Checking account:

                               17.2. Checking account:

                               17.3. Savings account:

                               17.4. Savings account:

                               17.5. Certificates of deposit:

                               17.6. Other financial account:

                               17.7. Other financial account:

                               17.8. Other financial account:

                               17.9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       '   No
           Yes                 Institution or issuer name:




 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
     an LLC, partnership, and joint venture

   gl No                       Name of entity:                                                               % of ownership:
    1:1 Yes. Give specific                                                                                    0%          %           $
        information about                                                                                     0%          %
        them                                                                                                                           $
                                                                                                              0%          %                      0
                                                                                                                                       $




  Official Form 106NB                                           Schedule A/B: Property                                                               page 5
               Case 20-62169-lrc              Doc 24 Filed 03/18/20 Entered 03/18/20 16:51:51 Desc Main
                                                                                           —6o4
Debtor 1              124-4- Middle Name
                                           iseeseril Document
                                                    Last Name
                                                                            20 number
                                                                  Page 6 ofCase                               (1/ known)
                Fl t ame




20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   t‹     o-
        Yes. Give specific   Issuer name:
        information about
        them




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

  )21" No
   U Yes. List each
     account separately.      Type of account:          Institution name:

                              401(k) or similar plan:

                              Pension plan:

                              IRA:

                              Retirement account:

                              Keogh:

                              Additional account:

                              Additional account:                                                                                     O


22.Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

  ,er-No
         Yes                                        Institution name or individual:
                              Electric:

                              Gas:

                              Heating oil:

                              Security deposit on rental unit:

                              Prepaid rent:

                              Telephone:

                              Water:

                              Rented furniture:

                              Other:                                                                                              $   0

 23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   grNo
    U Yes                      Issuer name and description:




                                                                                                                                  $


  Official Form 106A/B                                           Schedule A/B: Property                                                   page 6
                 Case 20-62169-lrc                Doc 24 Filed 03/18/20 Entered 03/18/20 16:51:51                                           Desc Main
Debtor 1
                   First Nime    Middle Name
                                                  7 e/e/Tel   dc-al/ 0 ,Page
                                                         Document
                                                      Last Name
                                                                        1         20 number
                                                                             7 ofCase                             (known)




24.Interests in an education IRA, in an account In a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
  ed No
  O Yes                                   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   Wnio
   O Yes. Give specific
     information about them....I


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   gr -No
   O Yes. Give specific
     information about them....I


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses


   •        Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                                 Current value of the
                                                                                                                                               portion you own?
                                                                                                                                               Do not deduct secured
                                                                                                                                               claims or exemptions.

28. Tax refunds owed to you
   /a       No
    O Yes. Give specific information                                                                                  Federal:
           about them, including whether
           you already filed the returns                                                                              State:
           and the tax years.                                                                                         Local:



29.Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    tad No
       0,    Yes. Give specific information
                                                                                                                     Alimony:
                                                                                                                     Maintenance:
                                                                                                                     Support:
                                                                                                                     Divorce settlement:
                                                                                                                     Property settlement:

 30.Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
            No
       O Yes. Give specific information




  Official Form 106A/B                                            Schedule A/B: Property                                                                 page 7
Debtor 1
              Case 20-62169-lrc
                     1#7Cf-
                First Nime     Middle Name
                                             40/0-507           a
                                                Doc 24 Filed 03/18/20 Entered 03/18/20 16:51:51
                                                      -Document Page 8 of Case
                                                    Lest Name
                                                                            20 number                                (it known)
                                                                                                                                             Desc Main



31. Interests In Insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
   Wr No
   0     Yes. Name the insurance company           Company name:                                          Beneficiary:                             Surrender or refund value:
              of each policy and list its value..„




32. Any Interest In property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
  dErNo
   Li Yes. Give specific information


33.Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   Li No
   Li Yes. Describe each claim.


34.Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   Li No
    Li Yes. Describe each claim.




35.Any financial assets you did not already list

   0 No
    Li Yes. Give specific information



36.Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here




Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
  )2rNo. Go to Part 6.
    LI   Yes. Go to line 38.
                                                                                                                                                  Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured claims
                                                                                                                                                  or exemptions.

38.Accounts receivable or commissions you already earned
    Li No
    0    Yes. Describe


39.Office equipment, furnishings, and supplies
   Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    Li No
    Li Yes. Describe




 Official Form 106A/B                                           Schedule A/B: Property                                                                         page 8
               Case 20-62169-lrc                 Doc 24       Filed 03/18/20 Entered 03/18/20 16:51:51         Desc Main
                                                                                                          20 - C20  - 1'e
Debtor 1                bol                                   Document     Page 9 of Case
                                                                                     20 number (if known)
                 First Na e    Middle Name         Lad
                                                    aM Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   O No
   O Yes. Describe



41. Inventory
     O No
   •      Yes. Describe



42. Interests in partnerships or joint ventures
   LI No
   O Yes. Describe             Name of entity:                                                          % of ownership:




43. Customer lists, mailing lists, or other compilations
   • No
   O Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               Li No
               0   Yes. Describe.



44.Any business-related property you did not already list
      No
   O Yes. Give specific
     information




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here




Part 6:        Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
  0      No. Go to Part 7.
       O Yes. Go to line 47.
                                                                                                                          Current value of the
                                                                                                                          portion you own?
                                                                                                                          Do not deduct secured claims
                                                                                                                          or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
       El No




 Official Form 106A/B                                         Schedule A/B: Property                                                   page 9
                  Case 20-62169-lrc              Doc 24       Filed 03/18/20 Entered 03/18/20 16:51:51                        Desc Main
Debtor 1                             /0-               dee5097•- •4 -
                                                          Document        SirA
                                                                                      20number (if known)
                                                                           Page 10 ofCase                                     6 2 (0'?---/r-e
                   First Naj4ie    Middle Name    Last Name




48. Crops—either growing or harvested

 4        -No
     •     Yes. Give specific
           information

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
  )2r-No
     •      Yes



50. Farm and fishing supplies, chemicals, and feed

  eErNo
     U Yes



51.Any farm- and commercial fishing-related property you did not already list
     Jar-No
     U      Yes. Give specific [
            information


52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
    for Part 6. Write that number here                                                                                 4




Part 7:           Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

  rtiNo
         U Yes. Give specific
           information.




54. Add the dollar value of all of your entries from Part 7. Write that number here                                    4




Part 8:           List the Totals of Each Part of this Form


                                                                                                                                       224 ' 062t
55. Part 1: Total real estate, line 2

56.Part 2: Total vehicles, line 5

57.Part 3: Total personal and household items, line 15

58. Part 4: Total financial assets, line 36

59.Part 5: Total business-related property, line 45

60.Part 6: Total farm- and fishing-related property, line 52

61.Part 7: Total other property not listed, line 54


62.Total personal property. Add lines 56 through 61.                       $   2-Z5: Od    , Copy personal property total 4    +           24   .476-3



63.Total of all property on Schedule A/B. Add line 55 + line 62                                                                    s      .5;

 Official Form 106A/B                                         Schedule A/B: Property                                                            page 10
                  Case 20-62169-lrc                     Doc 24        Filed 03/18/20 Entered 03/18/20 16:51:51                                       Desc Main
                                                                     Document      Page 11 of 20
 i
  Fill in this information to identify your case:

  Debtor 1
                        Fl   Name
                                         4            Middle Name
                                                                           eth     —
                                                                                 Last Name
                                                                                           7 97    7
                                                                                                                    Check if this is:
     Debtor 2
                                                                                                                   F:I An amended filing
                                                                                                 4
     (Spouse, If filing) First Name                   Middle NEe                 Last Name


     United States Bankruptcy Court for the:          ,A7Mityi                     District of
                                                                                                                   ID Aebpsupplement
                                                                                                                            n
                                                                                                                                     showing post-petition chapter 13
                                                                                                                                   ofMollowing date:
     Case number                      f"- 6/1-4   ?                                                                    MM      DD /     YY
     (If known)

                                                                                                                   El Amaintains
                                                                                                                        separate filing for Debtor 2 because Debtor 2
                                                                                                                                 a separate household
Official Form B 6J
Schedule J: Your Expenses                                                                                                                                              12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:               Describe Your Household

1. Is this a joint case?

 ,Ko. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                        No
                  ElYes. Debtor 2 must file a separate Schedule J.
2. Do you have dependents?                               No                                      Dependent's relationship to                 Dependent's   Does dependent live
      Do not list Debtor 1 and                          Yes. Fill out this information for       Debtor 1 or Debtor 2                        age           with you?
      Debtor 2.                                         each dependent
                                                                                                                                                                No
      Do not state the dependents'
      names.                                                                                                                                               D    Yes
                                                                                                                                                                No
                                                                                                                                                                Yes
                                                                                                                                                                No
                                                                                                                                                           El Yes
                                                                                                                                                           ID No
                                                                                                                                                           ID Yes
                                                                                                                                                                No
                                                                                                                                                                Yes

3. Do your expenses include
                                 )211\10
   expenses of people other than
   yourself and your dependents? ED Yes

Part 2:            Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule Your Income (Official Form B 61.)                                                           Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
    any rent for the ground or lot.                                                                                                   4.

        If not included in line 4:
        4a. Real estate taxes                                                                                                         4a.      $

        4b. Property, homeowner's, or renter's insurance
        4c. Home maintenance, repair, and upkeep expenses
        4d. Homeowner's association or condominium dues

Official Form B 6J                                                     Schedule J: Your Expenses                                                                     page 1
             Case 20-62169-lrc               Doc 24           Filed 03/18/20 Entered 03/18/20 16:51:51                            Desc Main
                                                             Document      Page 12 of 20
Debtor 1                                               &SIP-        12414                 Case number (if known)
                               Middle Name       Last Name




                                                                                                                              Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                                     5.

 6. Utilities:
      6a. Electricity, heat, natural gas                                                                           6a.
                                                                                                                                    150, ov
      6b. Water, sewer, garbage collection                                                                         6b.

      6c. Telephone, cell phone, Internet, satellite, and cable services                                           6c.

      6d. Other. Specify:                                                                                          6d.

 7. Food and housekeeping supplies                                                                                 7.

 8. Childcare and children's education costs                                                                       8.

 9. Clothing, laundry, and dry cleaning                                                                            9.                 oo ,c77-2
10. Personal care products and services                                                                            10.

11. Medical and dental expenses                                                                                    11.

12. Transportation. Include gas, maintenance, bus or train fare.
    Do not include car payments.                                                                                   12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.        $

14.   Charitable contributions and religious donations                                                             14.        $

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                          15a.

      15b. Health insurance                                                                                        15b.       $

      15c. Vehicle insurance                                                                                             c.   $

      15d. Other insurance. Specify:                                                                               1155:1     $


      Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
16.
                                                                                                                   16.
                                                                                                                                     A7/1
      Specify:

17. Installment or lease payments:
      17a. Car payments for Vehicle 1

      17b.Car payments for Vehicle 2

      17c. Other. Specify:

      17d. Other. Specify:                                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as deducted
    from your pay on line 5, Schedule I, Your Income (Official Form B 61).

19. Other payments you make to support others who do not live with you.
                                                                                                                        19.
      Specify:

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                             20a.       $     756
                                                                                                                   20b.       $
      20b. Real estate taxes
                                                                                                                   20c.       $
      20c. Property, homeowner's, or renter's insurance
      20d. Maintenance, repair, and upkeep expenses                                                                20d.       $    W/A
      20e. Homeowner's association or condominium dues                                                             20e.       $   /7:9,

 Official Form B 6J                                           Schedule J: Your Expenses                                                           page 2
             Case 20-62169-lrc             Doc 24       Filed 03/18/20 Entered 03/18/20 16:51:51                                    Desc Main
                                                       Document      Page 13 of 20
Debtor 1                                                                                   Case number of known)               -

21. Other. Specify:                                                                                                21.    +$       4 714-


22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                           22.



23. Calculate your monthly net income.
                                                                                                                23a.       $
   23a.    Copy line 12 (your combined monthly income) from Schedule I.

   23b.    Copy your monthly expenses from line 22 above.                                                       23b.


   23c.    Subtract your monthly expenses from your monthly income.
                                                                                                                   23c.    $         Sd
           The result is your monthly net income.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

   El No.
  JET-Yes.                4,een.‘ 41,8,74.4 /
                 Explain here:                                                            c24-1.0e        "to        (                  eiga

                    Xer'y    4   e__/9.cami‘er--‘2,41 e,2___                                       44/              .74, 0-11

                   /24 41)7 (P 6n4     p/-4.




  Official Form B 6J                                     Schedule J: Your Expenses                                                             page 3
              Case 20-62169-lrc              Doc 24            Filed 03/18/20 Entered 03/18/20 16:51:51                          Desc Main
                                                              Document      Page 14 of 20

 Fill in this information to identify your case:
                                                                   4
 Debtor 1
                    Mel Name               Mldd e Name                  Last Name

 Debtor 2
 (Spouse, if filing) First Name                                         Last Name


 United States Bankruptcy Court for the:                 District of   4eayt
                                                                        c
 Case number             *2.)
                     (If known)
                                  67--/"? (r-c                                                                                      CI Check if this is an
                                                                                                                                         amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                 Your assets
                                                                                                                                 Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
   Ia. Copy line 55, Total real estate, from Schedule A/B
                                                                                                                                     $    124" 00)

    lb. Copy line 62, Total personal property, from Schedule A/B                                                                     $          D -Zr3


    1o. Copy line 63, Total of all property on Schedule A/B
                                                                                                                                     $   S2-5/ 606


elli           Summarize Your Liabilities



                                                                                                                                  Your liabilities
                                                                                                                                  Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D
                                                                                                                                         a‘1.6io.n
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
   38. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F
                                                                                                                                     $22s/efeoed
    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6) of Schedule E/F
                                                                                                                                 +$


                                                                                                        Your total liabilities       $



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                     $
    Copy your combined monthly income from line 12 of Schedule I

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J                                                                            $    4596.a


Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                      page 1 of 2
              Case 20-62169-lrc               Doc 24         Filed 03/18/20 Entered 03/18/20 16:51:51                             Desc Main
                                                            Document      Page 15 of 20
   Debtor 1                                                                                      Case number (if known)   'Z"2/6 ?- /re
                 First pr
                        ame     Middle Name




   Part 4:      Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          Yes


   7. What kind of debt do you have?

      .21 Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
          family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
          this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                          Total claim


         From Part 4 on Schedule E/F, copy the following:


       9a.Domestic support obligations (Copy line 6a.)


       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)


       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)


       9d. Student loans. (Copy line 6f.)                                                                         /11

       9e. Obligations arising out of a separation agreement or divorce that you did not report as        s
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             $



       9g. Total. Add lines 9a through 9f.




Official Form 106Sum      Summary of Your Assets and Liabilities and Certain Statistical Information                                        page 2 of 2
                   Case 20-62169-lrc                  Doc 24            Filed 03/18/20 Entered 03/18/20 16:51:51                                      Desc Main
                                                                       Document      Page 16 of 20
Fill in this information to identify your case:


Debtor 1
                   Fl    a
                                               744,sex
                                               Middle Name                 Last Name
                                                                                       re-r>1
Debtor 2
(Spouse, ft filing) First Name                 Middle Name                 Last Name


                                       60%, 7
United States Bankruptcy Court for the:X/                    District of

Case number                          — 6 2/6
 (II known)
                                                                                                                                                          D Check if this is an
                                                                                                                                                               amended filing




  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                    12/15


  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud In connection with a bankruptcy case can result In fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                     Sign Below



        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

      efa -No
              Yes. Name of person                                                                      Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that they are true and correct.




                                                                               Signature of Debtor 2


          Date                       147°                                      Date
                                 /   YYYY                                              MM! DD /   YYYY




   Official Form 106Dec                                             Declaration About an Individual Debtor's Schedules
               Case 20-62169-lrc               Doc 24      Filed 03/18/20 Entered 03/18/20 16:51:51                              Desc Main
                                                          Document      Page 17 of 20
 Fill in this information to identify your case:                                                                Check as directed in lines 17 and 21:
                                                                                                                According to the calculations required by
                                                                                                                this Statement:

 Debtor 2
                                            Middle Name
                                                                                                               ID 1. under
                                                                                                                     Disposable income is not determined
                                                                                                                           11 U.S.C. § 1325(b)(3).
 (Spouse, If filing) First Name

                                                                                                                ▪   2. Disposable income is determined
 United States Bankruptcy Court   for the:4411141 District of
                                                                                                                       under 11 U.S.C. § 1325(b)(3).
 Case number                to-62/67--/ce                                                                       ▪   3. The commitment period is 3 years.
 (if known)

                                                                                                                1214. The commitment period is 5 years.


                                                                                                                0   Check if this is an amended filing




Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                            10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


                   Calculate Your Average Monthly Income

 1. What is your marital and filing status? Check one only.
    ja Not married. Fill out Column A, lines 2-11.
           Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
     the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
     from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                       Column A            Column B
                                                                                                       Debtor 1            Debtor 2 or
                                                                                                                           non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                     $    d
    payroll deductions).

 3. Alimony and maintenance payments. Do not include payments from a spouse.                           $


 4. All amounts from any source which are regularly paid for household expenses of
    you or your dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and
    roommates. Do not include payments from a spouse. Do not include payments you
    listed on line 3.

 5. Net income from operating a business, profession, or          Debtor 1        Debtor 2
    farm
    Gross receipts (before all deductions)                          $

      Ordinary and necessary operating expenses                   — $_ 6          -$
                                                                                             Copy
      Net monthly income from a business, profession, or farm       $              $         here4     $


 6. Net income from rental and other real property                Debtor 1        Debtor 2

      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses                   —$    ___   •   —$   ___



                                                                                             Copy          6
      Net monthly income from rental or other real property         $              $         here —)



 Official Form 122C-1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                             page 1
              Case 20-62169-lrc                Doc 24           Filed 03/18/20 Entered 03/18/20 16:51:51 Desc Main
Debtor 1                41/41-
                 First ame     Middle Name
                                                   lei-s
                                                  Last Name
                                                                - Arern Page 18 ofCase
                                                               Document                 number VI known) 9161'". 4 .
                                                                                      20number

                                                                                                Column A              Column B
                                                                                                Debtor 1              Debtor 2 or
                                                                                                                      non-filing spouse

7. Interest, dividends, and royalties

8. Unemployment compensation
   Do not enter the amount if you contend that the amount received was a benefit under
   the Social Security Act. Instead, list it here:

       For you                                                      $   4///1
                                                                        +   1
       For your spouse

9. Pension or retirement income. Do not include any amount received that was a
   benefit under the Social Security Act. Also, except as stated in the next sentence, do
   not include any compensation, pension, pay, annuity, or allowance paid by the United
   States Government in connection with a disability, combat-related injury or disability, or
   death of a member of the uniformed services. If you received any retired pay paid
   under chapter 61 of title 10, then include that pay only to the extent that it does not
   exceed the amount of retired pay to which you would otherwise be entitled if retired
   under any provision of title 10 other than chapter 61 of that title.
to. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act; payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability,
     or death of a member of the uniformed services. If necessary, list other sources on a
     separate page and put the total below.


                                                                                                         e2
       Total amounts from separate pages, if any.                                               +$

11. Calculate your total average monthly income. Add lines 2 through 10 for each
    column. Then add the total for Column A to the total for Column B.
                                                                                                                                          Total average
                                                                                                                                          monthly Income




Part 2:          Determine How to Measure Your Deductions from Income

12.Copy your total average monthly Income from line 11.

13. Calculate the marital adjustment. Check one:

   0 You are not married. Fill in 0 below.
   0 You are married and your spouse is filing with you. Fill in 0 below.
   0     You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
           you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than
           you or your dependents.
         Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
         list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.




         Total                                                                                       $               Copy here



14. Your current monthly income. Subtract the total in line 13 from line 12.




Official Form 122C-1              Chapter 13 Statement of Your Current Monthly income and Calculation of Commitment Period                       page 2
               Case 20-62169-lrc               Doc 24        Filed 03/18/20 Entered 03/18/20 16:51:51                                Desc Main
Debtor 1
                   First Nye   Middle Name        4E4'1-w) Wrcerii
                                                            Document                 20number Of known) 2Z --
                                                                          Page 19 ofCase                                               / .6   7 --



15. Calculate your current monthly income for the year. Follow these steps:

   15a.Copy line 14 here
           Multiply line 15a by 12 (the number of months in a year).                                                                          x 12
   15o.The result is your current monthly income for the year for this part of the form.


16. Calculate the median family income that applies to you. Follow these steps:
                                                                                                                                                                  •
   16a. Fill in the state in which you live.

   16b. Fill in the number of people in your household.


    16b. Fill in the median family income for your state and size of household.
         To find a list of applicable median income amounts, go online using the link specified in the separate
         instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a. la Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
            11         § 1325(6)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

    17b.EI Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
           11         § 1325(6)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2).
           On line 39 of that form, copy your current monthly income from line 14 above.

                   Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)


18. Copy your total average monthly income from line 11.

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
    calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's income, copy
    the amount from line 13.
    19a. If the marital adjustment does not apply, fill in 0 on line 19a.


    19b. Subtract line 19a from line 18.


20. Calculate your current monthly income for the year. Follow these steps:

    20a. Copy line 19b


            Multiply by 12 (the number of months in a year).


    20b. The result is your current monthly income for the year for this part of the form.



    20c.Copy the median family income for your state and size of household from line 16c                                                             O


21. How do the lines compare?


    0       Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
           The commitment period is 3 years. Go to Part 4.




    El Line 20bboxis4,more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
                       The commitment period is 5 years. Go to Part 4.
           check




 Official Form 122C-1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                              page 3
           Case 20-62169-lrc                     Doc 24           Filed 03/18/20      Entered 03/18/20 16:51:51                   Desc Main
Debtor 1
             First N         Middle Name
                                                        6 Document
                                                      /6(717-4
                                                      Last Name
                                                               7 g91Page 20 ofCase
                                                                               20number                        (if known)                        7   /2--
Part 4:    Sign Below


           By signing here, under penalty 9 f- erjury I declare t        e information on this statement and in any attachments is true and correct.

                                               c..,                                    X
                                           (
                SI      re of Debtor 1                                                     Signature of Debtor 2


                                                                                           Date
                                                                                                  MM/ DD      / YYYY

           If you checked 17a, do NOT fill out or file Form 1220-2.
           If you checked 17b, fill out Form 1220-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




 Official Form 122C-1            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                               page 4
